Case 1:11-cr-00657-RDB Document 353-1 Filed 10/18/22 Page 1 of 7

UNSWORN DECLARATION ALLOWED
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UNDER STATE AND FEDERAL LAW
OCT 18 2022

ATBALTIMUHE
‘ US. DISTRICT COURT
DISTRICT OF MARY Waist

DEPUTY

STATEMENT OF FACT: Sole purpose of this Declaration, under penalty of per-
jury, is to confirm several conversations that took place between the deponent, DAN
SCOTT and attorney LARRY J. FELDMAN, licensed to practice law in the state of
Maryland.

In specificity, this interchange of information directly affects the criminal conviction
of 32-year-old, TAVON DAMEON DAVIS, now serving a 35-year sentence in federal
prison, pursuant to Case Number 1:11-cr-00657-MJG-1, U.S. District Court, District of

Maryland.

IN ACCORDANCE with the provisions of Section 1746 of Title 28, United States
Code, |, the undersigned DAN SCOTT, do hereby make the following Declaration

pertinent to the above-styled cause of action:

1. | am over the age of 21 and in sound mind. | have personal knowledge of
the statements in fact that follow. Currently, | am a resident of Jessup, Mary-
land.

2. | am in no way related or acquainted with Tavon Dameon Davis, and only
step forward at this moment in time in appreciation of seeing justice legit-

imized.

Page 1 of 7:

Case 1:11-cr-00657-RDB Document 353-1 Filed 10/18/22 Page 2 of 7

3. In July 2015, | began attending Sex Addicts Anonymous (SAA). As a fellow-
ship of recovering addicts, SAA offers a message of hope to anyone who »
suffers from sex addiction. The basic principles of recovery practiced by SAA
are found in its “12 Steps Program”.

4. It was there | met and was befriended by attorney, Larry Feldman, who had
been actively engaged in SAA a short time prior to my arrival.

5. Presumably, believing it would be beneficial to him as part of the “12 Steps

. Program”, early-on he “opened-up” to me with events from his past that
were clearly troublesome. | know of no reason why he selected me in partic-
ular. However, being compassionate, | encouraged his willingness and hon-
esty. Admittedly, it made him feel better.

6. Outward appearance profiled him as a successful but unsettled attorney who
squandered his career due to his ardent impulse for prostitutes. He ex-
changed his legal services for sex, and this led to his suspension from the
Maryland Bar Association.

7. He was openly bitter toward one Tavon Davis, who provided him these pros-
titutes in exchange for reduced and sometimes free legal services for his
friends.

8. One such friend was 19-year-old Isaiah Callaway, who according to public
record was killed as a witness at the order of Tavon Davis. My conversations
with Mr. Feldman, however, contradict this conviction as Mr. Feldman and
Maryland Attorney General Rod Rubenstein conspired to railroad Mr. Davis
and his associates into prison beyond any doubt.

9. For reasons never made clear to me, Mr. Feldman persisted in giving me
details of the killing of Mr. Callaway that he personally was instrumental in

organizing his death.

Page 2 of 7

Case 1:11-cr-00657-RDB Document 353-1 Filed 10/18/22 Page 3 of 7

10. Additionally, he confided in me that his criminality in the second half of
2015 was far more dreadful than mere prostitution, all of which was
apparently covered-up by the government, as it was more interested in
“railroading” Tavon Davis and his associates to prison for elongated periods
of time. To me, it had racial overtones.

11. Somehow Mr. Feldman was of the opinion | would be fully aware of his
legal problems by way of public information, and for reasons still unclear, he
used me as his “confessional”.

12. In truth, | knew nothing about his criminal activities and really had no inter-
est in learning about them. Nonetheless, he continued to confess to some
serious degenerate and felonious actions that repulsed me.

13. This included his arrangement of the killing of his client, 19-year-old Isaiah
Callaway, coercing Mr. Davis’ involvement, out of spite and bitterness.

14. In the words of Mr. Feldman, “.. .he conned Davis’ black ass into offing Call-
away, to get him (Davis) out of his hair."

15. In almost a fanatical tone, he repeatedly complained that the “whores” Davis
provided were “no where near the price he was paying. . .". His bitterness
was all too obvious, he was being taken advantage of and his legal services
held a far higher monetary value than the “cheap hookers” being provided
by Davis.

16. He expressed satisfaction in knowing Davis would be spending most of the
rest of his life in prison, for something he himself was instrumental in organ-
izing.

17. Seemingly, when law enforcement contacted him, as the attorney of record
for Callaway, informing him that they wanted to speak with his client, he
used that as the course of reasoning to tell (illegally) Davis about the re-
quest, advising him that Callaway would “rat” on him and his associates, and

for him to avoid a long prison term, his only hope was to eliminate Callaway.

Page 3 of 7

Case 1:11-cr-00657-RDB Document 353-1 Filed 10/18/22 Page 4 of 7

18. With that, Mr. Feldman boasted. repeatedly how his plan worked and he
ridded himself of both Davis and Callaway.

19. Clearly, he had participated in several of the conversations relevant to how
this killing would occur. He was upset with himself because he miscalculated
his insulation attempt at keeping his role invisible. Law enforcement became
aware of those conversations and other communication, and according to
Feldman they did so illegally, creating a “work around” after the fact to make
illegal surveillance and spying appear authorized.

20. Also, law enforcement managed to discover him with some of Davis’ sup-
plied prostitutes and seized the opportunity to leverage that information into
having him cooperate. If he didn't, he would also be charged with soliciting
murder-for-hire, and organizing the death of Callaway.

34. On the other hand, he talked about believing he could beat such a charge
legally and could get certain evidence suppressed because it was illegally ob-
tained.

22. He spoke further about having decisions to make, like being disbarred, like
being able to get the charges against Davis dismissed, and about fully coop-
erating with the government, whose only interest was in getting Davis and
his associates “off the streets” and in prison for the rest of their lives.

53. It was then he told me, he made a deal with Maryland Attorney General,
Rod Rosenstein. This further repulsed me knowing this is how justice in this
country operates.

24. It was agreed law enforcement, including the FBI, would concoct a fabri-
cated story noting that Feldman was a cooperating witness in lieu of the
truth, which was Feldman organized this killing.

25. Feldman says he insisted the government affirm its commitment to him
publicly, as he was familiar with how the justice department reneges on its

"deals". It “indicated” it would do so, and Feldman proceeded.

Page 4 of 7

Case 1:11-cr-00657-RDB Document 353-1 Filed 10/18/22 Page 5 of 7

26. Rosenstein conspired with local law enforcement, including the FBI, to “hide”
the evidence implicating Feldman_as the organizer in this killing,Apparently,
part of the deal was he had to “cough up” (his words) a significant monetary
settlement to the Callaway family.

27. To paraphrase two disgusting statements he made to me, | repeat, “Davis
and all those black gangbangers will probably end up dead before they get
any older” and “Callaway’s mom has more money now with her worthless kid
dead than she ever would have seen if | hadn’t gotten him killed."

28. As agitated and disturbed all his confessions made me, | didn’t want to hin-
der his progress in the “12 Steps Program” of SAA, as | find the program ex-
tremely beneficial.

29, Feldman actually was instrumental in the death of a 19-year-old, and with
the help of a deceiving state attorney general, still walks the streets free,
while Davis in particular is serving a 35 year sentence.

30. After hearing Feldman's statements of fact, | was still somewhat confused as
to why he enrolled in SAA even though he had this prostitution issue. It was
then he told me the government reneged on the deal, with the FBI refusing
to publicly affirm it lied in court where it stated he was a “doofus" instead of
the organizer of the murder.

31. The obvious fear of the government was this could mitigate the sentences
eventually imposed on Davis and his associates. Instead, the FBI or the pros-
ecutors in this case, influenced the Maryland Attorney Grievance Commission
to formalize a complaint against Feldman, being certain to insulate Rosen-
stein and the FBI from any wrongdoing.

32. So instead of being disbarred, Feldman was branded as incompetent not
malicious. His license was suspended for prostitution issues, and he was
therefore attending SAA to obtain reference letters from members to show

how repentant and rehabilitated he became so he could activate his license

Page 5 of 7

Case 1:11-cr-00657-RDB Document 353-1 Filed 10/18/22 Page 6 of 7

to once again practice law in the state of Maryland. After several denials, he

was eventually reinstated.

33. Ironically, | personally never wrote a letter of reference for him, while other
members did, not being privy to all the facts, as | was. | still find what he did
deplorable and hopefully the factual data | present herein will mandate that
Mr. Davis, who was wrongfully convicted and sentenced, will obtain appro-
priate relief from his sentence.

34. As for Feldman and Rosenstein, and other unnamed law enforcement offi-
cials, they should all be severely reprimanded for their deception in this com-
plete miscarriage of justice.

35. | was ready to disclose this information in 2015. | went to my own attorney,
told him the story, and he ill-advised me that information disclosed at a SAA
meeting cannot be used as evidence. | found out later he was wrong. Plus, it
was clear, he had no interest in attacking Feldman, a fellow attorney.

36. It was in 2019 that | learned that the information | received from Mr. Feld-
man in conversations, impacting a murder case, can certainly be used in
evidence.

37. | remained personally distraught in knowing what | did know about this
killing, feeling a moral obligation to set the record straight on this injustice.
In March of 2020 | contacted the attorney for the Callaway family to explain
the situation. He checked with the family and informed me, they were per-
fectly happy with the civil monetary settlement and had no interest in getting

further involved in any legal actions.

Page 6 of 7

Case 1:11-cr-00657-RDB Document 353-1 Filed 10/18/22 Page 7 of 7

38. It was then | contacted the wife of Tavon Davis. The result of the telephone

call is this declaration.

| DECLARE, under penalty of perjury, under the laws of Maryland, that the foregoing

is true and correct.

SIGNED on this AO day of Netober 2020 at WL, MM.

Dan Str

PRINTED NAME

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Page 7 of 7 .

